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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

LINA ARGUELLES; and MARIO
AMARAN,

                    Plaintiffs,

v.                                                     Case No. 6:16-cv-2024-Orl-37TBS

NOOR BAIG, INC.,

                    Defendant.


                                        ORDER

      This cause is before the Court on the parties’ Renewed Joint Motion for Approval

of FLSA Settlement Agreements and Incorporated Memorandum of Law (Doc. 21), filed

March 10, 2017.

      In this action brought under the Fair Labor Standards Act (“FLSA”), the Court

denied the parties’ first motion for approval of the original settlement agreements

(Doc. 18-1 (“Original Settlement Agreements”)), as they contained impermissible

confidentiality, general release, and no re-employment provisions. (See Doc. 19 (“Denial

Order”).) In the Denial Order, the Court noted its skepticism of the parties’ purported

release of non-parties and directed the parties to submit briefing on whether a specific

release of a non-party is permissible in the FLSA context (“Non-Party Release Issue”).

(Id. at 3.) On March 10, 2017, the parties submitted amended settlement agreements and

renewed their request for Court approval. (Doc. 21 (“Second Approval Motion”); see also
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Doc. 21-1 (“Amended Settlement Agreements”).) 1

      Importantly, the parties have removed the offending general release,

confidentiality, and no re-employment provisions from the Amended Settlement

Agreements. (See Doc. 21-1.) The parties, however, did not brief the Non-Party Release

Issue in their Second Approval Motion, yet the Amended Settlement Agreements still

purport to release non-parties Mirza R. Baig and Mughalai Enterprises, Inc. (See id. at 2,

8.)

      As noted in the Denial Order, the Court doubts the permissibility of a release of

non-parties in the FLSA context (See Doc. 19, p. 3), and despite being given an opportunity

to submit briefing on this issue, the parties have offered no contrary authority. Hence the

Court declines to grant the Second Approval Motion as to the non-parties. Consequently,

the agreement reached between Plaintiffs and the non-parties remains unenforceable. See

Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1237–38 (M.D. Fla. 2010) (stating that “the

release of an FLSA claim approved by neither the Department of Labor nor the district

court remains unenforceable.”).

      Accordingly, it is hereby ORDERED AND ADJUDGED that:

      1.     The parties’ Renewed Joint Motion for Approval of FLSA Settlement

             Agreements and Incorporated Memorandum of Law (Doc. 21) is

             GRANTED IN PART to the extent that the parties seek approval of the




      1As with the Original Settlement Agreements, the Amended Settlement
Agreements are identical, apart from addressing each Plaintiff separately. (See Doc. 21-1.)



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            settlement agreements (Doc. 21-1) between named parties Lina Arguelles,

            Mario Amaran, and Noor Baig, Inc.

      2.    The parties’ Amended Settlement Agreements (Doc. 21-1) are APPROVED

            IN PART AND REJECTED IN PART.

            a.      The Amended Settlement Agreements are approved as to the named

                    parties only.

            b.      The Amended Settlement Agreements are rejected and, thus,

                    unenforceable as to non-parties Mirza R. Baig and Mughalai

                    Enterprises, Inc.

DONE AND ORDERED in Chambers in Orlando, Florida, on March 13, 2017.




Copies:

Counsel of Record




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